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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                      Debtors.1                        (Jointly Administered)


                          DEBTORS’ WITNESS AND EXHIBIT LIST
                     FOR HEARING ON OCTOBER 4, 2023 AT 10:00 A.M. (ET)

          The above captioned debtors and debtors in possession (the “Debtors”) submit this witness

and exhibit list for the hearing scheduled for October 4, 2023 at 10:00 a.m. (ET) (the “Hearing”)

before the Honorable Thomas M. Horan, at the United States Bankruptcy Court for the District of

Delaware, located at 824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801.

                                                     WITNESSES

          The Debtors designate the following persons as witnesses who may be called at the

Hearing.

                   1.        Han Kieftenbeld, Interim Chief Executive Officer and Chief Financial
                             Officer, Amyris, Inc.

                   2.        Theodore F. Martens.

                   3.        Oksana Wright, VP, Head of Compliance and Litigation, Amyris, Inc.
                             (Rebuttal).

          The Debtors also cross-designate all witnesses designated by any other party in connection

with the Hearing, and reserve the right to call any necessary rebuttal or impeachment witnesses.




1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place
    of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100, Emeryville,
    CA 94608.



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                                                    EXHIBITS

            The Debtors designate the following exhibits that may be used at the Hearing:

     Exhibit                                                                       Docket
                  Document Description                                                       Bates No.
      No.                                                                           No.
                                                                                             AMYRIS-
       1.         2018.06.29 Loan and Security Agreement                          171-B2
                                                                                             DIP001997
                                                                                             AMYRIS-
       2.         2018.06.29 Promissory Note
                                                                                             DIP002157
                                                                                             AMYRIS-
       3.         2018.06.29 GACP UCC-1 No. 2018 4480998
                                                                                             DIP002402
                                                                                             AMYRIS-
       4.         2018.08.24 Amendment No 1 to Loan Agreement
                                                                                             DIP002159
                                                                                             AMYRIS-
       5.         2018.11.14 Amendment No. 2 to Loan Agreement
                                                                                             DIP002166
                                                                                             AMYRIS-
       6.         2018.12.14 Amendment No 3 to Loan Agreement
                                                                                             DIP002172
                                                                                             AMYRIS-
       7.         2019.04.04 Amendment No 4 to Loan Agreement
                                                                                             DIP002182
                                                                                             AMYRIS-
       8.         2019.04.08 Amyris-Foris Credit Agreement
                                                                                             DIP002408
                                                                                             AMYRIS-
       9.         2019.04.08 Amyris-Foris Note
                                                                                             DIP002421
                                                                                             AMYRIS-
       10.        2019.04.15 Assignment
                                                                                             DIP002191
                                                                                             AMYRIS-
       11.        2019.04.15 GACP-Amyris Loan Purchase Agreement
                                                                                             DIP002426
       12.        2019.04.17 UCC Amendment No. 2019 2678519
                                                                                             AMYRIS-
       13.        2019.06.11 Amyris-Foris Note
                                                                                             DIP002476
                                                                                             AMYRIS-
       14.        2019.07.10 Foris Promissory Note
                                                                                             DIP002481
                                                                                             AMYRIS-
       15.        2019.07.26 Foris Promissory Note
                                                                                             DIP002486
                                                                                             AMYRIS-
       16.        2019.08.14 Foris Amended Note
                                                                                             DIP002197
                                                                                             AMYRIS-
       17.        2019.08.14 Foris LSA Amendment No 5
                                                                                             DIP002199
                                                                                             AMYRIS-
       18.        2019.08.28 Amyris-Foris Credit Agreement
                                                                                             DIP002491
                                                                                             AMYRIS-
       19.        2019.08.28 Amyris-Foris Promissory Note
                                                                                             DIP002504
                                                                                             AMYRIS-
       20.        2019.10.10 LSA Amendment No 6
                                                                                             DIP002220



2
    Previously admitted on 09.14.23, Docket No. 272, Ex. 2.


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   Exhibit                                                                   Docket
                Document Description                                                    Bates No.
    No.                                                                       No.
                                                                                        AMYRIS-
     21.        2019.10.11 Foris Note
                                                                                        DIP002511
                                                                                        AMYRIS-
     22.        2019.10.11 Common Stock Warrant
                                                                                        DIP002834
                                                                                        AMYRIS-
     23.        2019.10.29 Foris AR LSA
                                                                                        DIP002232
                                                                                        AMYRIS-
     24.        2019.11.21 DE UCC Amendment No. 2019 6821769
                                                                                        DIP002513
                                                                                        AMYRIS-
     25.        2019.11.21 UCC Amendment No. 2019 8268067
                                                                                        DIP004011
                                                                                        AMYRIS-
     26.        2019.11.27 Secured Term Promissory Note
                                                                                        DIP002515
                                                                                        AMYRIS-
     27.        2019.11.27 Common Stock Warrant
                                                                                        DIP002850
                                                                                        AMYRIS-
     28.        2019.12.20 Forbearance Agreement (December 2019)
                                                                                        DIP002639
                2020.01.31 Foris Warrant Exercise and Debt Equitization                 AMYRIS-
     29.
                Agreement                                                               DIP002348
                                                                                        AMYRIS-
     30.        2020.02.27 Foris Forbearance Agreement (February 2020)
                                                                                        DIP002650
                                                                                        AMYRIS-
     31.        2020.03.11 Amyris Foris Waiver (March 2020)
                                                                                        DIP002662
                                                                                        AMYRIS-
     32.        2020.05.06 Amyris Foris Waiver (April 2020)
                                                                                        DIP002671
                                                                                        AMYRIS-
     33.        2020.05.06 Amyris Foris Waiver (May 2020)
                                                                                        DIP002679
                                                                                        AMYRIS-
     34.        2020.06.01 Amendment N.1 to AR Foris LSA
                                                                                        DIP002330
                                                                                        AMYRIS-
     35.        2020.08.08 Amyris Foris Waiver
                                                                                        DIP002688
                                                                                        AMYRIS-
     36.        2020.11.05 Amyris Foris Waiver (November 2020)
                                                                                        DIP002693
                                                                                        AMYRIS-
     37.        2020.12.31 Exercise Notices
                                                                                        DIP002870
                                                                                        AMYRIS-
     38.        2021.03.04 Amyris Foris Waiver and Consent
                                                                                        DIP002699
     39.        2021.04.30 Amyris Foris Waiver and Consent
                                                                                        AMYRIS-
     40.        2021.11.06 Amyris Foris Waiver Consent and Notice
                                                                                        DIP002755
                                                                                        AMYRIS-
     41.        2021.11.09 Foris LSA Amendment
                                                                                        DIP002593
     42.        2022.09.27 Amyris Foris Waiver and Consent
                                                                                        AMYRIS-
     43.        2022.06.29 Foris LSA Amendment
                                                                                        DIP002341
     44.        2023.03.10 Amyris Foris Waiver and Consent
     45.        FAS Update Dated June 30, 2009


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     Exhibit                                                                      Docket
                  Document Description                                                       Bates No.
      No.                                                                          No.
                                                                                             AMYRIS-
       46.        2019.03.18 Research Collaboration and License Agreement         171-A3
                                                                                             DIP002357
                                                                                             AMYRIS-
       47.        2019.05.02 Lavvan - Security Agreement
                                                                                             DIP002450
                                                                                             AMYRIS-
       48.        2019.05.02 Assignment Agreement
                                                                                             DIP002539
                                                                                             AMYRIS-
       49.        2019.05.09 Lavvan UCC-1 No. 2019 3209363
                                                                                             DIP002471
                                                                                             AMYRIS-
       50.        2019.05.02 Lavvan - Subordination Agreement                     211-A4
                                                                                             DIP002463
                                                                                             AMYRIS-
       51.        2019.05.02 Officer’s Certificate dated May 2, 2019
                                                                                             DIP002525
       52.        2023.05.25 UCC Amendment No. 2023 2411693
                                                                                             AMYRIS-
       53.        2019.05.02 Consent and Waiver
                                                                                             DIP002531
                                                                                             AMYRIS-
       54.        8-K filed on August 20, 2019
                                                                                             DIP002949
                                                                                             AMYRIS-
       55.        8-K filed on October 16, 2019
                                                                                             DIP003020
                                                                                             AMYRIS-
       56.        8-K filed on November 1, 2019
                                                                                             DIP003024
                                                                                             AMYRIS-
       57.        8-K filed on December 2, 2019
                                                                                             DIP003168
                                                                                             AMYRIS-
       58.        8-K filed on February 06, 2020
                                                                                             DIP003172
                                                                                             AMYRIS-
       59.        8-K filed on June 4, 2020
                                                                                             DIP003212
                                                                                             AMYRIS-
       60.        8-K filed on July 1, 2022
                                                                                             DIP004013
                                                                                             AMYRIS-
       61.        10-Q filed on August 10, 2020
                                                                                             DIP003301
       62.        8-K filed on November 20, 2019
                                                                                             AMYRIS-
       63.        10-K FYE 12.31.20 filed on March 5, 2021
                                                                                             DIP003438
                                                                                             AMYRIS-
       64.        10-K FYE 12.31.22 filed on March 16, 2023
                                                                                             DIP004014
       65.        10-K FYE 12.31.21 filed on March 9, 2022
                                                                                             AMYRIS-
       66.        January 31 2019 Accounting File Memorandum
                                                                                             DIP003983
                  2019.10.10 Amyris, Inc. Valuation of Foris LSA as of                       AMYRIS-
       67.
                  October 19, 2019 Summary USD in Actual                                     DIP002828
                                                                                             AMYRIS-
       68.        April 2020 Accounting File Memorandum
                                                                                             DIP003953


3
    Previously admitted on 09.14.23, Docket No. 272, Ex. 1.
4
    Previously admitted on 09.14.23, Docket No. 272, Ex. 3.

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   Exhibit                                                                    Docket
                Document Description                                                     Bates No.
    No.                                                                        No.
                                                                                         AMYRIS-
     69.        2020.01.31 Summary of Terms
                                                                                         DIP002868
     70.        AR Foris LSA Balances Timeline Demonstrative
                Expert Report of Theodore F. Martens dated September 22,
     71.
                2023
     72.        Martens Report EX A – Curriculum Vitae
     73.        Martens Report EX B - Foris LSA Principal Balance O/S
     74.        Martens Report EX C – Documents Considered
                Expert Rebuttal Report of Michael Gaul, CTP, CFE dated
     75.
                September 26, 2023
     76.        Final Search Terms
     77.        2023.09.20 Email from K. Matevish
     78.        2023.09.20 Wright/Chin Email
     79.        2023.09.19 Fattaruso Document Request
     80.        2023.09.20 Kornfeld Response to Fattaruso
     81.        2023.09.21 Fattaruso Reply to Kornfeld

        The Debtors also cross designate all exhibits designated by any other party in connection

with the Hearing, and reserve the right to use additional exhibits for rebuttal or impeachment

purposes.

        The Debtors reserve the right to amend or supplement this witness and exhibit list prior to

the Hearing.

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 Dated: October 2, 2023                   PACHULSKI STANG ZIEHL & JONES LLP

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